Case 2:04-cr-20040-.]PI\/| Document 99 Filed 07/06/05 Page 1 of 2 Page|D 148

IN THE UNITED STATES DISTRICT COURT mL" °'_"°

FOR THE WESTERN DISTRICT OF TENNESSEE

WESTER.N DIvIszoN OSJU. "6 AHII¢ 2b

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W OF TN, MBIPI'B

 

UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-20040-Ml

ROBERT SPENCER )

\-._»

Def endant . )

 

*A-M-E-N-D*E-D ORDER ON CHANGE OF PLEA

 

This cause came to be heard on June 23, 2005, the United States
Attorney for this district, Stephen Hall, appearing for the Government and
the defendant, Robert Spencer, appearing in person and with counsel, Robert
Irby, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count *L of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for WEDNESDAY, SEPTEMBER 21, 2005, at
9=00 a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phippl
McCalla..

Defendant is allowed to remain released on present bond.

ENTERED this the LOcilay of July, 2005.

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JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

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ISTRICT COURT - WESTER DISTRICT TNNESSEE

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 99 in
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July 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

